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USCA11 Case: 14-10228

IN THE UNITED STATES COURT OF APPEALS

FOR THE ELEVENTH CIRCUIT

Appeal No.: 14-10228-FF

District Case No.: 6:13-cr-94-Orl-37GJK

JONATHAN DAVID ADLETA,
Defendant/Appellant,
v.
UNITED STATES OF AMERICA,

Appellee.

APPEAL FROM THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

INITIAL BRIEF OF APPELLANT

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CERTIFICATE OF INTERESTED PERSONS AND CORPORATE

DISCLOSURE STATEMENT

In compliance with Fed. R. App. P. 26.1 and 11" Cir. R. 26.1-1, the

undersigned hereby certifies that the following listed persons and entities have an

interest in the outcome of this case:

1.

2.

Jonathan Adleta, Defendant/Appellant

Sarah Jayne Adleta, Co-Defendant

Matthews R. Bark, Esquire, Trial Counsel for Appellant

The Honorable Roy B. Dalton, Jr., United States District Judge
Karen L. Gable, Assistant U.S. Attorney

Ilianys Rivera Miranda, Esquire, Assistant U.S. Attorney
David Paul Rhodes, Esquire, Assistant U.S. Attorney

Christopher L. Smith, Appellate attorney for Defendant
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STATEMENT REGARDING ORAL ARGUMENT

The Appellant, Jonathan Adleta, does not request oral argument. The facts
and legal arguments will be adequately presented in the briefs and record, and the

decision-making process would not be significantly aided by oral argument. See

Fed R. App. P. 34(a)(2).

CERTIFICATE OF TYPE SIZE AND STYLED

The Appellant certifies that 14 point Times New Roman font is used in this

brief.

CERTIFICATE OF COMPLIANCE WITH
TYPE-VOLUME LIMITATION

Appellant certifies that the Initial Brief is within the word limit.

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STATEMENT OF SUBJECT MATTER AND
APPELLATE JURISDICTION

This is a direct appeal from a Judgment and Sentence, after jury trial, from the
District Court. This Court has jurisdiction pursuant to Title 28 U.S.C. § 1291. The
Appellant was found guilty of the charges in the Indictment after a jury trial. (Doc.
89). The Trial Court sentenced the Appellant on January 6, 2014. (Doc. 102) and

Judgment was entered on January 10, 2014. (Doc. 103). The Appellant timely filed

his Notice of Appeal. (Doc. 104).
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STATEMENT OF THE ISSUE

Whether Rules 413 and 414 of the Federal Rules of Evidence violate the Due

Process clause on the Fifth Amendment.
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STATEMENT OF THE CASE AND FACTS

(For purposes of references to the record, all references of “T” represent the
evidence presented on Day 2 of the Trial, Doc 74. Any other transcript reference will
identify the Docket number).

The Government presented the following direct evidence of Appellant’s guilt
on the charges in the Superseding Indictment.

Sarah Adleta testified that the biological father of her children was her former
husband, Jonathan Adleta. (T. 78). Sarah Adleta stated that she and Jonathan Adleta
began dating in 2007. Jonathan Adleta and Sarah Adleta were married in 2010 and
divorced in 2011. (T. 87).

Sarah Adleta testified that on December 23, 2012, she and their children
traveled from Orlando, Florida to Jonathan Adleta’s home in Oklahoma. She and the
children returned home to Orlando, Florida on January 3, 2012. (T. 100-111).
Jonathan Adleta had made the travel arrangements for her and their children and had
paid for the plane tickets. (T. 182-183). According to Sarah Adleta, prior to the trip,
she and Jonathan Adleta had discussed Jonathan Adleta’s plans to engage in sex acts
with their daughter, K. (T. 105-108).

Moreover, Sarah Adleta stated that on December 26, 2012, while at Jonathan
Adleta’s residence in Oklahoma, Jonathan Adleta called her into the bedroom and

she observed as Jonathan Adleta masturbated while standing next to the bed where
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their daughter, K, was lying naked. Sarah Adleta also observed Jonathan Adleta
ejaculate onto K’s chest and K became visibly upset. Jonathan Adleta also told Sarah
Adleta that shortly after they had arrived at his residence in Oklahoma, he had put his
penis in his daughter K’s mouth, when they were showering together. (T. 111-114).

The Government presented evidence from record custodians of USAA
Financial Institution and American Airlines confirming that Jonathan Adleta paid for
the airplane tickets to fly Sarah Adleta, L and K to Oklahoma. (T. 208-218).

The Government also called Samantha Bryant, who testified that she was
present in Oklahoma on Christmas day and confirmed the sexual acts performed on
K by the Appellant, described by Sarah Adleta in her testimony. (T. 197-199).

The Government also introduced evidence of collateral bad acts, pursuant to
the Court’s ruling on the admissibility of Rule 413 and 414 Evidence.

During 2011, Jonathan Adleta was in the United States Marine Corp. and
deployed to Afghanistan. According to Sarah Adleta, during his time overseas,
Jonathan Adleta asked her to join a website to pay for videos of child pornography
and sent the videos to him. (T. 88-98).

Sarah Adleta testified that in the Fall of 2011, Jonathan Adleta had told her
that upon his return from overseas deployment, he would like to engage in sexual
activity with his 2 year old daughter (K). (T. 98). Jonathan Adleta had expressed to

Sarah Adleta that he wanted to watch her have sexual intercourse with their one year
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old son (L), when he got a little older. (T. 81). Jonathan Adleta stated that he had
fantasies about father-daughter sex and wanted to carry out this fantasy with his
daughter. (T. 77-81).

Furthermore, Sarah Adleta had told Jonathan Adleta about the sex acts that she
had performed with the son, L, and daughter, K. She also produced images of child
pornography from those incidents which she sent to her former boyfriend, Dixon.
Sarah Adleta explained that she had performed oral sex on both her daughter, K, and
her son, L, and had digitally penetrated K’s vagina. (T. 165-169).

Sarah Adleta also stated that she had forwarded some of these images to
Jonathan Adleta in 2012, via text messages or e-mail.

She further stated she and Jonathan Adleta had discussed via text messages,
the sexual abuse of their daughter, K. In a text dated January 24, 2013, Jonathan
Adleta discussed when K and L would lose their virginity. Jonathan Adleta wrote,

“Maybe 12....haha don’t know about her (K), ha when she gonna “sit”

on me?:P.” Sarah Adleta responded, “Ha well if she is anything like

how I am about sex I think it will be earlier then normal, ha whenever

you see them again.” Jonathan Adleta replied, “I ment when is she

gonna stick mine in her when I said “sit”...you like seeing me cum on

her?” (T. 138-139)

In a text message dated February 12, 2013, Jonathan Adleta wrote:

“So what you want to see (K’s first name) play?” Sarah Adleta

responded, “Your cock and my pussy haha.” Jonathan Adleta replied,

“Oh so you want her to make my cock pay with your pussy?” Jonathan

Adleta later texted, “Her (K) with cum anywhere on her would be so
hot.” “More than she does now? You having someone cum on her.”

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Sarah Adleta responded, “No I was referring to her with you the last
time remember she freaked out.” Jonathan Adleta responded, “Yea she
kinda did...maybe you should get someone to cum on her.” Sarah
Adleta replied, “what your thoughts of her playing with a small dildo
now?” Jonathan Adleta replied, “that’s fine, ha just take pics:p” (T.
143-149)

Sarah Adleta also testified that she and Jonathan had engaged in numerous live
video and instant messaging sessions through Skype. Often times, these
conversations included references to the sexual assault of K, which was confirmed
by agents who testified. (T. 90, 98-100, 118-119, 121-129, 153-157).

Sarah Adleta also testified about Skype messages revealed the following
conversation on March 5, 2013:

Sarah Adleta stated, “He (Dixon) wants me to do stuff with K.”
Jonathan Adleta replied, “on skype for him?” Sarah Adleta replied,
“ves.” Jonathan Adleta then stated “r u?” Sarah Adleta said “yea a
little.” Jonathan Adleta asked, “what have you done?” Sarah Adleta
stated, “just given her oral I won’t do anything more then that she
practically begs for it only done it a few times but she loves it.”
Jonathan Adleta replied, “bet he loves it too.” Sarah Adleta stated, “he
says it is real hot.” Jonathan Adleta asked, “so the question is, when
are you gonna have her suck on a cock?” Sarah Adleta stated “I don’t
do anything unless she wants it. Hum well when it’s the right guy and
right time.” Jonathan Adleta stated “oh.” Sarah Adleta advised, “he is
the only one I consider besides you.” Jonathan Adleta stated, “I’d like
to see that.”

Later in the conversation, Sarah Adleta advised that she was considering taking
K to meet Dixon in North Carolina. Jonathan Adleta stated, “well if you do, you got
to record it.” (T. 143-157).

On March 31, 2013, agents executed a federal search warrant at Adleta’s home

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in Glenpool, Oklahoma. During execution of the warrant, a computer forensic review
of Adleta’s Sony laptop computer revealed a picture of Adleta rubbing his erect penis
on another child, who was four-years-old at the time. (T. 168-169). Agents
subsequently interviewed M’s mother who admitted to dating Adleta beginning in
early 2012 and through the time period charged in the indictment. Samantha Bryant
stated that Adleta was sexually interested in M, and persuaded M’s mother to display
M naked during their Skype communications. (T. 165-167). According to Bryant,
in November 2012, Adleta persuaded her to sexually abuse M and take photographs
of the abuse for Adleta’s benefit. (T. 158-167). In addition, in early November,
2012, Adleta visited M’s mother and M in Texas. During the visit, Adleta rubbed his
penis against M and asked Bryant to photograph the sexual activity and send him the
pictures. Bryant agreed and e-mailed these images to Adleta, on approximately
November 19, 2012. Bryant also provided a statement that in December 2012, at
Adleta’s home in Oklahoma, just before K and L’s visit, Adleta masturbated and
ejaculated on M in the presence of Bryant. Adleta also made M kiss his penis. (157-
158).

Pamela Bryant also testified that Appellant had sexual interest in children. (T.
183). Liked Father/Daughter fantasy stories. (T. 191-193). That he had photographs
of naked children on his computer. (T. 198-199). Finally, that he liked to role play

Father/Daughter sex. (T. 196).
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On April 24, 2013, a federal grand jury in the Middle District of Florida,
Orlando Division, returned a one-count Indictment naming Jonathan Daniel Adleta
as defendant. (Doc. 17).

On August 28, 2013, a federal grand jury in the Middle District of Florida,
Orlando Division, returned a two-count Superseding Indictment naming Jonathan
Daniel Adleta as defendant. (Doc. 60).

Count One charges that from at least November 2012 through March 2013, In
Orange and Seminole Counties, Florida, I the Middle District of Florida, and
elsewhere, Jonathan Adleta did commit the offense of Conspiracy to Transport a
Minor in Interstate Commerce, for Purposes of Sexual Activity, in violation of U.S.C.
§ 2423(e).

Count Two charges that on December 23, 2012, in Seminole and Orange
Counties, Florida, in the Middle District of Florida, and elsewhere, Jonathan Adleta
did commit the offense of Transportation of a Minor in Interstate Commerce, for
Purposes of Sexual Activity, in violation of 18 U.S.C. § 2423(a) and 2.

The Superseding Indictment contains a forfeiture provision pursuant to 18
U.S.C, § 2253.

The Defendant entered a not guilty plea and proceeded to a jury trial before
United States District Court Judge Roy B. Dalton, Jr. On September 12, 2013, the

jury returned a verdict of guilty as to Counts One and Two of the Superseding
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Indictment. (Doc. 89). United States District Court Judge Roy B. Dalton, Jr.,
adjudicated the defendant guilty and scheduled sentencing for January 6, 2014. (Doc.
90).

Prior to trial, on August 12, 2013, the Defendant filed a Motion in Limine to
prohibit the Government from introducing collateral bad acts. (Doc 54). The
Government filed a Response on August 20, 2013. (Doc 59). In said Response the
Government indicated four (4) categories of evidence sought to be admitted under
Rules 404(b), 413, and 414, Federal Rules of Evidence, to wit:

a) Other acts of child molestation;

b) Evidence of the receipt of child pornography;

c) Evidence of Appellant’s diary entries; and

d) Text and Skype chat logs. (Doc 59).

The Court entered an Order on the Motion in Limine on September 13, 2013.
(Doc 65). In said Order, the Court denied the Motion in Limine and allowed the
Government to introduce the evidence, relying entirely on Rules 413 and 414, Federal

Rules of Evidence. The Court denied Appellant’s request for a 404(b) Instruction to

the Jury at Charge Conference. (T. 77, P 5-7).
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SUMMARY OF THE ARGUMENT

The prohibition against admitting evidence of a bad act in order to argue
propensity to commit crimes is deeply rooted in the common law and American
Jurisprudence. Rules 413 and 414, Federal Rules of Evidence provide an exception
to this fundamental principle to those accused of sex offenses.

This expansion and circumvention of the common law exceptions codified in
Rule 404(b), Federal Rules of Evidence violates fundamental conceptions of justice,

and as such, violate the Due Process Clause of the Fifth Amendment.

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ARGUMENT

The Fifth Amendment of the United States Constitution guarantees a
Defendant the right to Due Process.

The Due Process Clause has operation beyond the specific guarantees
enumerated in the Bill of Rights. See Dowling v. United States, 493 U.S. 342, 352,
110 S.Ct. 668, 674, 107 L.Ed.2d 708 (1990). The Due Process Clause will invalidate
an evidentiary rule if the rule “violates those fundamental conceptions of justice
which lie at the base of our civil and political institutions and which define the
community’s sense of fair play and decency.” United Stated v. Lovasco, 431 U.S.
783, 790, 97 S.Ct. 2044, 2049, 52 L.Ed. 2d 752 (1977) (citations and internal
quotation marks omitted), cited in Dowling, 493 U.S. at 353, 110 S.Ct. at 674-75.
The Supreme Court has “defined the category of infractions that violate ‘fundamental
fairness’ very narrowly.” Dowling, 493 U.S. at 352-53, 110 S.Ct. at 674.

The primary guide in determining whether the principle in question is
fundamental is historical practice.” Montana v. Egelhoff, 518 U.S. 37, 41-44, 116
S.Ct. 2013, 2017, 135 L.Ed.2d 361 (1996).

The Supreme Court stated in Egelhoff, “It is not the [government] which bears
the burden of demonstrating that its rule is ‘deeply rooted,’ but rather [the defendant]
who must show that the principle of procedure violated by the rule (and allegedly

required by due process) is ‘so rooted in the traditions and conscience of our people

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as to be ranked as fundamental.’” *882 Egelhoff, 518 U.S. at 47, 116 S.Ct. at 2019
(quoting Patterson v. New York, 432 U.S. 197, 202, 97 S.Ct. 2319, 2322-23, 53
L.Ed.2d 281 (1977)).

Until recently, the character-evidence prohibition has been a fixture of the
American common law. (Fed. R. Evid. 413-415. For a brief history of the genesis of
Rules 413-415, see Michael Teter, Acts of Emotion: Analyzing Congressional
Involvement in the Federal Rules of Evidence, 58 Cath. U. L. Rev. 153, 177-87 (2008)
(George E. Dix et al., McCormick on Evidence 4 §§ 186-95, Kenneth S. Broun ed.,
2006). The prohibition forbids a litigant from employing character evidence as
circumstantial proof of conduct — that is, in the past accused performed an illegal act
that shows that he or she has a propensity for illegal conduct, and accordingly, that
propensity increases the probability that he or she has performed the charged act. (1
Edward J. Imwinkelried, Uncharged Misconduct Evidence § 2:19, at 2-113, rev. ed.
2003 & Supp. 2009).

The common law banned the admission of evidence of previous misconduct
because it posed two probative dangers. In order to decide whether to draw the initial
inference, the trier of fact would have to focus on the accused’s personal-or
subjective-character. However, that focus creates the probative danger that the trier
of fact will be tempted to decide the case on an improper basis, namely, the accused’s

status as a recidivist. Ud. § 2:19. The Eighth Amendment’s prohibition of cruel and

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unusual punishment precludes punishing an accused for his or her status. Robinson
v. California, 370 U.S. 660, 666 (1962). In deciding whether to draw the inference
from character to conduct on the charged occasion, there is also a danger that the trier
of fact will attach undue weight to the evidence of the accused’s prior illegal acts. (1
Imwinkelried, Uncharged Misconduct Evidence, supra note 5, § 2:19, at 2-116 to 2-
119). Moreover, a large body of psychological research corroborates the common-
law assumption that character is a poor predictor of conduct on a particular occasion.
Ud. § 2:19).

Federal Rule of Evidence 404(b) codifies the common-law principle. Rule
404(b) reads:

Other Crimes, Wrongs, or Acts. Evidence of other crimes, wrongs, or

acts is not admissible to prove the character of a person in order to show

action in conformity therewith. It may, however, be admissible for

other purposes, such as proof of motive, opportunity, intent,

preparation, plan, knowledge, identity, or absence of mistake or

accident, provided that upon request by the accused, the prosecution in

a criminal case shall provide reasonable notice in advance of trial, or

during trial if the court excuses pretrial notice on good cause shown, of

the general nature of any such evidence it intends to introduce at trial.
(Fed. R. Evid. 404(b)).

The first sentence of the statute embodies the ban on character reasoning; the
second sentence, however, permits the prosecution to introduce testimony about an
accused’s uncharged misconduct when the evidence possesses genuine noncharacter
relevance, the theory of relevance ordinarily moots the probative dangers that inspire
the character-evidence prohibition. (1 Imwinkelried, Uncharged Misconduct

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Evidence, supra note 5, § 2:22, at 2-127 to 2-128). Such theories do not require the
jury to posit any assumption about the accused’s bad character. Ud. § 2:22).

The introduction of evidence of an accused’s other misdeeds is obviously
prejudicial to the accused. Prosecutors appreciate the potential impact of such
evidence at trial; consequently, they proffer the evidence with great frequency. Dean
Charles T. McCormick famously remarked that the published opinions on this subject
are aS numerous “as the sands of the sea[s].” (Kenneth S. Broun et al., McCormack
on Evidence § 190, at 550 n.8 (Edward W. Clearly ed., 3d ed. 1984)). Rule 404(b)
has generated more reported decisions than any other provision of the Federal Rules.
(2 Jack B. Weinstein & Margaret A. Berger, Weinstein’s Evidence § 404[08], at 404-
47). In many jurisdictions, the admissibility of uncharged misconduct evidence is
not only the most frequently litigated issue on appeal, but also the most common
ground for reversal. (22 Charles Alan Wright & Kenneth W. Graham, Jr., Federal
Practice and Procedure § 5239, at 427 (1978) (footnote omitted); see also Stephen A.
Saltsburg, Trial and Tactics: Inextricably Intertwined? Maybe Not, 16 Crim. Just. 60,
60 (2001); Jason M. Brauser, Comment, Intrinsic or Extrinsic?: The Confusing
Distinction between Inextricably Intertwinged Evidence and Other Crimes Evidence
under Rule 404(b), 88 Nw. U. L. Rev. 1582, 1583-84 (1984)).

In most Rule 404(b) battles, the decisive question is whether the prosecution

can articulate a noncharacter theory of logical relevance that is tenable on the facts.

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The ban on propensity evidence dates back to English cases of the seventeenth
century. See Hampden’s Trial, 9 How. St. Tr. 1053, 1103 (K.D. 1684). In addition,
courts in the United States have enforced the ban throughout our nation’s history, see,
e.g. Boyd v, United States, 142 U.S. 450, 458, 12 S.Ct. 292, 295, 35 L.Ed. 1077
(1892). The ban’s lineage and significance in our jurisprudence, it is a protection that
the Due Process Clause guarantees. United States v. Castillo, 140 F.3d 874 (10th Cir.
1998).

At the outset, Appellant concedes that both the Eighth and Tenth Circuits, have
held that Rules 413 and 414 do not violate the Due Process Clause. United States v.
Castillo, 140 F.3d 874 (10th Cir. 1998), United States v. Mound, 149 F.3d 799, (8th
Cir. 1998). Appellant contends that this Court should reject the holdings in Castillo
and Mound as the prohibition against propensity evidence is deeply rooted in the
common law and thus, its holding is contrary to the law established by the United

States Supreme Court. See Lovasco; Huddleston.

The Castillo Court found that historical record regarding evidence of one’s
sexual character is much more ambiguous. Stating that a century ago, courts
regularly admitted a defendant’s prior acts as proof of the crime of incest.

The Court further stated in the nineteenth and early twentieth centuries, some
states developed a “lustful disposition” rule, allowing evidence of sexual acts other

than the one charged in order to prove the defendant’s disposition to commit a sex

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crime. “Many of the cases in this area of the law concern sexual offenses against
children. By the early 1920’s, twenty-three states had a “lustful disposition”
exception of applicable to cases of statutory rape. See Reed, 21 AM. J.CRIM. L. at
171. Today, an even greater number of states retain the “lustful disposition” rule in
cases involving sex offenses, including cases of child molestation. Jd. at 188.”

The Castillo court found it is significant that other rules of evidence have been
found constitutional even though they allow evidence presenting a risk of prejudice
similar to that presented by Rule 413 and Rule 414 evidence. However, when a court
admits evidence of a defendant’s propensities, such as evidence of the defendant’s

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prior criminal acts, it creates “’the risk that a jury will convict for crimes other than
those charged- or that, uncertain of guilt, it will convict anyway because a bad person
deserves punishment.’” Old Chief v. United States, 519 U.S. 172, —, 117 S.Ct. 644,
650, 136 L.Ed.2d 574 (1997) (quoting United States v. Moccia, 681 F.2d 61, 63 (1st
Cir. 1982)). Those risks of prejudice are present not only when the evidence is
offered to show propensity, but whenever a defendant’s prior bad acts are admitted.
Whenever such evidence is before the jury, the jury may be tempted to convict for
the prior bad act, or what it says about the defendant’s character, rather than what it
says about the likelihood that the defendant committed the charged crime. Therefore,

the Supreme Court has described the risk of prejudice associated with evidence

admitted under Rule 404(b) — which allows evidence of prior bad acts — in almost

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precisely the same terms as that associated with propensity evidence. Rule 404(b)
evidence presents the risk that “the jury may choose to punish the defendant for the
similar rather than the charged act, or [that] the jury may infer that the defendant is
an evil person inclined to violate the law.” Huddleston v. United States, 485 U.S. 681,
686, 108 S.Ct. 1496, 1499-1500, 99 L.Ed.2d 771 (1988); id. at 691, 108 S.Ct. at 1502
(citing Michelson v. United States, 335 U.S. 469, 475-76, 69 S.Ct. 213, 218-19, 93
L.Ed. 168 (1948)). The Castillo court found that since the Court upheld the common
law equivalent of Rule 404(b), see Lisenba v. California, 314 U.S. 219, 227-28, 62
S.Ct. 280, 285-86, 86 L.Ed. 166 (1941), “there has been no doubt that it is a
constitutional rule.”

Appellant asserts that it is precisely the limited purposes for admissibility listed
in Rule 404(b) which makes it constitutional. It prohibits the Government from
arguing that a jury should convict a Defendant because of his propensity to commit
crimes.

The Castillo court found that the most significant factor favoring Rule 414’s
constitutionality is the existence of procedural protections in Rule 402 and, in
particular, Rule 403. However, those same rules apply to Rule 404(b). The Castillo
court relied on Huddleston, but Huddleston turned on Rule 404(b). The Castillo court
stated that although Huddleston was not a constitutional decision, it is important to

our inquiry because the defendant here — like those in Huddleston- argues that “prior

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acts” evidence creates an unacceptable risk of prejudice. The Huddleston Court ruled
that even when evidence has a potentially great prejudicial effect, as Rule 404(b)
evidence does, Rules 402 and 403 adequately control the prejudicial effect. See
Huddleston, 485 U.S. at 691, 108 S.Ct. at 1502.

In United States v. Mound, the Eighth Circuit determined that Rule 413 does
not violate due process.

Mound allegedly abused his daughter T.M. physically and sexually from 1993,
when she was ten, through January 1997. The alleged abuse included forced touching
and intercourse and beating with an axe handle.

Mound argued that Federal Rule of Evidence 413 was unconstitutional. Rule
413 provides in relevant part:

In a criminal case in which the defendant is accused of an offense of

sexual assault, evidence of the defendant’s commission of another

offense or offenses of sexual assault is admissible, and may be
considered for its bearing of any matter to which it is relevant.

In considering evidence under Rules 413 and 414, a trial court must still apply
Rule 403, though in such a way as “to allow [the new rules their] intended effect.”
United States v. LeCompte, 131 F.3d 767, 769 (8th Cir. 1997). See also United States
v. Sumner, 119 F.3d 658, 661 (8th Cir. 1997). The question was thus whether Rule
413, subject to the constraints of Rule 403, is constitutional.

The Eighth Circuit held that Rule 413 does not violate the Due Process Clause.

To determine whether the rule fails “the due process test of fundamental fairness,”

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we consider whether “the introduction of this type of evidence is so extremely unfair
that its admission violates fundamental conceptions of justice.” Dowling v. United
States, 493 U.S. 342, 352, 110 S.Ct. 668, 107 L.Ed.2d 708 (1990) (citation omitted).
Mound argued that it does, because it authorized the jury to overvalue character
evidence, to punish a defendant for past acts and to convict the defendant for who he
is, rather than for what he has done. The Eighth Circuit held that Rule 413 was
constitutional. However, Appellant submits that arguing propensity flies in the face
of fundamental conceptions of justice.

Appellant asserts that this Court should reject the Eighth and Tenth Circuits
finding that Rules 413 and 414 are Constitutional. The prohibition against propensity
evidence is deeply rooted in the common law and this country’s jurisprudence. To
allow the Government to obtain a conviction against a Defendant by arguing he is a
bad person is so extremely unfair that its admission violates fundamental conceptions

of Justice.

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CONCLUSION

The prohibition against propensity evidence is deeply rooted in the common
law and this country’s jurisprudence. To allow the Government to obtain a conviction
against a Defendant by arguing he is a bad person is so extremely unfair that its
admission violates fundamental conceptions of Justice.

As such, the Appellant’s conviction should be vacated, the case remanded for
new trial, and any collateral bad act evidence should be confined to the admissibility

requirements of Rule 404(b), Federal Rules of Evidence.

Respectfully submitted,

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that, in compliance with 11" Cir. R. 31-5(c), and
Adobe Acrobat PDF file of the foregoing brief was uploaded via the Internet to the

Court’s website on this 18" day of August, 2014.

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